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IN THE UNITED STATES DISTRICT COURT FILED) oy 0

FOR THE WESTERN DISTRICT OF TENNESSEE ee

WESTERN DIVISION SS TAY 27 pi gs oy
)
ZIAD SAID OZRAIL, }
)
Plaintiff, )
)

v. ) Civil Action No. 05-2287 BV

)
)
Z BEST OIL CO., HAITHAM A. )
ALYOUSEF and NASSER OZRAIL, )
d/b/a Z BEST MARKET, )
)
Defendants. )
)

 

ORDER GRANTING MOTION FOR EXTENSION OF TIME

 

Having considered the motion and statements of counsel for the parties and the
entire record in this cause:

IT IS HEREBY ORDERED, ADJUDGED AND DECREED, as follows:

The Parties’ motion is well-taken and should be granted. Specific dates amended
are as follows:

1. Defendant’s Answer to Plaintiff's Complaint will be due June 23, 2005.

Date: Lisp 27 2085 Keane Ke Lpunp-

FEDERAL MAGISTRATE JUDGE

 

 

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with Rule 58 and/or 79(a) FROP on
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-C V-02287 was distributed by fax, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT
